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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                       November 04, 2020
                            UNITED STATES DISTRICT COURT                               David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

EDGAR NORMAN-HUNTER,                                 §
                                                     §
               Plaintiff,                            §
                                                     §
v.                                                   §      Civil Action No. 4:20-CV-03029
                                                     §
ANDREW SAUL,                                         §
Commissioner of Social Security,                     §
                                                     §
               Defendant.                            §

                                             ORDER

       Pending before the court is Defendant’s Motion for Extension of Time to File the Certified

Administrative Record and Answer to Plaintiff’s Complaint. IT IS HEREBY ORDERED that

said motion is GRANTED.

       IT IS FURTHER ORDERED that Defendant shall have until January 4, 2021, to file the

administrative record and answer to Plaintiff’s complaint or otherwise respond to Plaintiff’s

complaint.

       SIGNED N o v e m b e r 4                                 , 2020.




                                                             SAM S. SHELDON
                                                     UNITED STATES MAGISTRATE JUDGE
